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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

DAWUD J. BEST,                                   *
               Plaintiff,                        *
       v.                                        *         Civil Action No. PWG 15-1141

EQUIFAX INFORMATION
SERVICES, LLC                                    *
               Defendant.                        *

*      *       *        *     *       *      * * *         *       *      *       *       *
                                   SETTLEMENT ORDER
                                     (LOCAL RULE 111)

       The parties have advised this Court that they have settled the above action, including all

counterclaims, cross-claims and third-party claims, if any. Accordingly, pursuant to Local Rule

III it is ORDERED that:

       This action i~ hereby dismissed and each party is to bear its own costs unless otherwise

agreed, in which event the costs shall be adjusted between the parties in accordance with their

agreement. The entry of this Order is without prejudice to the right of a party to move for good

cause within thirty (30) days to reopen this action if settlement is not consummated. If no party

moves to reopen, the dismissal shall be with prejudice.




Dated: April 20. 2016                                                     /S/
                                                           Paul W. Grimm
                                                           United States District Judge
